AO 442 (Rev. 11/11) Arrest Warrant


                                           UNITED STATES DISTRICT COURT
                                                                        for the
                                                               Middle District of Tennessee


                      United States of America
                                  V.
                                                                                      Case No.    3:22-00282 Judge Richardson
                           Cade Cothren




                               Defendant




To:        Any authorized law enforcement officer

           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)         Cade Cothren
who is accused of an offense or violation based on the following document filed with the court:

V Indictment               0    Superseding Indictment            0 Information          0 Superseding Information               0 Complaint
[71 Probation Violation Petition              171 Supervised Release Violation Petition            0 Violation Notice            71 Order of the Court

This offense is briefly described as follows:
  18 USC 371 Conspiracy to commit Theft Concerning Programs Receiving Federal Funds, Bribery and Kickbacks
  Concerning Programs Receiving Federal Funds, and Honest Services Wire Fraud; 18 USC 666(a)(1)(A), 2 Theft
  Concerning Programs Receiving Federal Funds; 18 USC 666(a)(1)(B), 2 Bribery and Kickbacks Concerning Programs
  Receiving Federal Funds; 18 U.S.C. §§ 666(a)(2), 2 Bribery and Kickbacks Concerning Programs Receiving Federal
  Funds; 18 USC 1343, 1346 Honest Services Wire Fraud; 18 USC 1342 Use of a Fictitious Name to Carry Out A Fraud; 18
  USC 1956(h) Money Laundering Conspiracy; 18 USC 1956(a)(1)(B)(i) Money Laundering; 18 USC 1957, 2 Money
    aiinclprinn                                            '


Date:          08/22/0202                                           (    Co
                                                                          l
                                                 /
                                                I      ?                      1                     Issui~ag o.>facer s sig
                                                                                                                          gnature
                                                                              T
City and state:          Nashville, TN                                                Joyce A. Brooks, Criminal_ Docketing Supervisor
                                                                                                        Printed name and title


                                                          \~rVl,l"n

          This warrant was received on (date)                                     and the person was arrested on (date)             y      ~
                                                                                                                                    V ,?
at (city and state)   IV14 5           LC-~    r      A

Date:                                                                                             _ "     ✓ e if            —
                                                                                                   Arresting officer's signature



                                                                                                        Printed name and title

                  Case 3:22-cr-00282 Document 13 Filed 08/23/22 Page 1 of 1 PageID #: 73
             Case 3:22-cr-00282 *SEALED* Document 6 Filed 08/22/22 Page I of 2 PagelD #: 60
